       i
  Reset Form
                                   NO.       23-6246


                                             In The
                         United States Court of Appeals
                                    For The Fourth Circuit

                                    ANDREW FIELDS, III




                                                                            Plaintiff - Appellant

                                               v.

                          FEDERAL BUREAU OF PRISONS, et al.




                                                                         Defendant - Appellees


              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
   FOR THE WESTERN DISTRICT OF VIRGINIA        AT ROANOKE



                                     BRIEF OF APPELLANTS



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                                  DISCLOSURE STATEMENT

•    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
     parties, with the following exceptions: (1) the United States is not required to file a disclosure
     statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
     or local government is not required to file a disclosure statement in pro se cases. (All parties
     to the action in the district court are considered parties to a mandamus case.)
•    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
•    In criminal cases, the United States must file a disclosure statement if there was an
     organizational victim of the alleged criminal activity. (See question 7.)
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No. __________
    23-6246                Caption: __________________________________________________
                                    Fields v. Federal Bureau of Prisons, et al.

Pursuant to FRAP 26.1 and Local Rule 26.1,

______________________________________________________________________________
Andrew Fields, III
(name of party/amicus)

______________________________________________________________________________

 who is _______________________,
                  appellant           makes the following disclosure:
(appellant/appellee/petitioner/respondent/amicus/intervenor)


1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
        If yes, identify all parent corporations, including all generations of parent corporations:




3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
        other publicly held entity?                                                 YES ✔ NO
        If yes, identify all such owners:




12/01/2019 SCC                                   -1-
4.    Is there any other publicly held corporation or other publicly held entity that has a direct
      financial interest in the outcome of the litigation?                              YES ✔ NO
      If yes, identify entity and nature of interest:




5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
      If yes, identify any publicly held member whose stock or equity value could be affected
      substantially by the outcome of the proceeding or whose claims the trade association is
      pursuing in a representative capacity, or state that there is no such member:




6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
      If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
      party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
      caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
      corporation that owns 10% or more of the stock of the debtor.




7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
      If yes, the United States, absent good cause shown, must list (1) each organizational
      victim of the criminal activity and (2) if an organizational victim is a corporation, the
      parent corporation and any publicly held corporation that owns 10% or more of the stock
      of victim, to the extent that information can be obtained through due diligence.




           s/ Danny Zemel
Signature: ____________________________________                     Date: ___________________
                                                                               08/15/2023

             Appellant
Counsel for: __________________________________




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                        JURISDICTIONAL STATEMENT

      This Court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1291

because the Appellant, Andrew Fields, III, seeks review of a “final decision[]” of a

“district court[] of the United States.” The district court in this matter entered a final

judgment on January 31, 2023 and Appellant timely filed a notice of appeal on

March 13, 2023.

                             STATEMENT OF ISSUES

      Whether, in light of Egbert v. Boule, 142 S. Ct. 1793 (2022), a person

subjected to excessive force in violation of the Eighth Amendment may seek

damages from the individuals who committed the constitutional violation.

                           STATEMENT OF THE CASE

      In the fall of 2021, Andrew Fields, III was incarcerated at the United States

Penitentiary in Lee County, Virginia. During this period, Fields endured numerous

violations of his rights, including physical abuse, retaliation for protected conduct,

seizure of property, denial of access to a grievance process, and deprivation of

medical care. JA 009-026.

      Many of the violations in this case can be traced November 10, 2021, when

Fields was summoned to a meeting with several prison personnel, ostensibly to

discuss his apparent failure to carry an “inmate movement pass” while outside his

housing unit. JA 010. The timing of this discussion, however, is suspect because, on



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the preceding day, Fields had sent a letter to prison authorities regarding problems

at another federal facility (USP Lewisburg). JA 009. Indeed, during the meeting,

Fields was searched by several guards who found—and permanently seized—five

legal documents that Fields had inside his shirt. JA 012. Inexplicably, the guards

also seized Fields’ shoes and prescription glasses, neither of which were ever

returned. JA 012.

      After the meeting, a guard escorted Fields to the Special Housing Unit

(“SHU”), a punishment that was imposed on Fields at the meeting. JA 013. On the

way to the SHU, however, Fields momentarily glanced in a direction that raised the

guard’s ire. JA 013. Immediately, the guard began punching the plaintiff in the face

with closed fists. JA 013. Fields fell the ground, but the abuse only continued with

the guard stomping on him with steel-toed boots. JA 013. Fields finally made it to

the SHU, but only with the assistance of a wheelchair. JA 013.

      Once in the SHU, a nurse falsely accused Fields of misconduct, which then

triggered another round of abuse by multiple guards—including punching, kicking,

and ramming Fields’ head into the concrete wall. JA 014-017. At some point after

the beating, a nurse arrived to perform a temperature check. During this visit, the

nurse accused Fields of lying to her and, as punishment for that, refused to provide

him with medication. JA 018.




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      Fields remained in the SHU and was subject to periodic checks. JA 018. These

“checks,” however, were little more than another occasion for harassment and abuse,

including threats of harm, false accusations of misconduct, and outright physical

attacks. JA 019-023. Finally, after 24 hours in the SHU, Fields was returned to his

ordinary housing unit. JA 023.

      After his return, Fields turned to the task of reclaiming the items that had been

seized from him, including important legal documents, his shoes, and his glasses.

Receiving little help from the guards, he attempted to file a formal grievance. JA

024-025. Yet even that effort was stymied when personnel refused to provide Fields

with access to the necessary forms. JA 026.

      Based upon these events, Fields filed a pro se complaint on January 19, 2022

against several prison officers and the Bureau of Prisons. JA 007. The district court

prescreened the complaint pursuant to 28 U.S.C. § 1915(a) and, on January 31, 2023,

dismissed all claims as well as a motion it regarded as moot.1 See JA 095-108.




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          The district court dismissed as moot Fields’ motion to have the U.S.
Marshals Service serve process. JA 095. Although prisoners who qualify for in
forma pauperis status are not responsible for serving process, Fields was unable to
qualify for reasons outside his control. JA 003. After unsuccessfully attempting to
effectuate service on his own, Fields filed the motion seeking to have the U.S.
Marshals Service effectuate service on his behalf. JA 092-093. At the time, the
district court dismissed this motion; it is unclear how much time remained for service
to be completed, though it appears that some time did remain.

                                          3
      In its decision, the district court first held that Fields’ allegations involving

deprivation of property, deprivation of medical care, and the denial of access to a

grievance process failed to state a violation of his constitutional rights. JA 098-099.

Second, turning to Fields’ allegations of retaliation and excessive force, the district

court held that those claims were not supported by an implied damages remedy. JA

100. Purporting to follow the Supreme Court’s recent decision in Egbert v. Boule,

142 S. Ct. 1793 (2022), the district court found that both claims arose in a “new

context” and that “special factors” counseled against recognizing an implied cause

of action. JA 103-107.

      With regard to the excessive force claim,2 the district court first noted that

Fields’ excessive force claim arose in new context. No previous Supreme Court case

“involved Eighth Amendment claims alleging an improper use of force by BOP of-

ficers.” JA 103. The court then turned to the issue of whether special factors coun-

seled against recognizing a damages remedy in this context. JA 104.

      The district court held that special factors did exist and noted three in partic-

ular: (1) Congress’s superior positioning to determine whether a damages remedy

ought to be available, (2) the importance of not “entangl[ing] the federal judiciary in




      2
         Fields only seeks appellate review of the district court’s excessive force
ruling. For that reason, only that aspect of the court’s ruling is discussed here.

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byzantine issue of prison administration and institutional security,” and (3) the ex-

istence of alternative remedies through the “Bureau of Prison’s administrative rem-

edy program.” JA 104-107.

      Following this decision, Fields timely filed a notice of appeal on March 13,

2023 and—still acting pro se—filed an informal brief on March 27, 2023. In June

2023, however, Fields retained pro bono counsel who sought leave to file a formal

brief. This Court granted that request on July 6, 2023.

                         SUMMARY OF ARGUMENT

      In Egbert v. Boule, 142 S. Ct. 1793 (2022), the Supreme Court made clear that

lower courts may recognize Bivens actions in at least some new contexts. Fields’

excessive force claim falls into one such context because he is not asking this Court

to approve “whole categories” of new claims as the Supreme Court has warned

against. Ziglar v. Abbasi, 582 U.S. 120, 136 (2017). Rather, Fields only asks this

Court to recognize an exceedingly narrow extension that will uncommonly arise: an

Eighth Amendment excessive force claim where the Bureau of Prisons’ (BOP)

administrative remedy program is not operational.

      Recognizing such a claim is permissible and appropriate because special

factors—as the term is properly understood—do not counsel hesitation. First, in

evaluating special factors here, this Court must respect the Supreme Court’s explicit

decision in Egbert to retain the two-step inquiry (i.e., first, does a damages action



                                          5
arise in a “new context” and, second, do “special factors counsel hesitation”) and to

leave the door open for potential extensions. Applying a special factor in a way that

would, in effect, block all extensions of Bivens would violate controlling precedent.

      Second, with this proper understanding of special factors in mind, there are

no factors that bar the recognition of a cause of action here. Recognizing a cause of

action would neither produce unacceptable systemwide consequences nor

inappropriately interfere with officers’ discretionary authority in the discharge of

their duties. Further, because a rogue officer denied Fields access to the BOP

administrative remedy program, implying a cause of action here would not interfere

with Congress’ or the Executive’s chosen method of deterring wrongful conduct.

Thus, the narrow extension sought here may, and should, be granted.

                                  ARGUMENT

I.    Standard of Review.

      A dismissal for failure to state a claim pursuant to the screening required by

the Prisoner Litigation Reform Act (PLRA) is reviewed de novo. Moore v. Bennette,

517 F.3d 717, 728 (4th Cir. 2008). PLRA screenings for failure to state a claim apply

the same standard as under Rule 12(b)(6). Veney v. Wyche, 293 F.3d 726, 730 (4th

Cir. 2002). According, the facts as pled must be accepted as true and all reasonable

inferences much be made in the Plaintiff’s favor. Id. Further, when conducting a




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PLRA review, a liberal construction must be given to the pleadings. Erickson v.

Pardus, 551 U.S. 89, 94 (2007) (per curiam).

II.   Egbert Confirms that Bivens Extensions are Available, and the Special
      Factors Analysis Must Reflect This.

      It is no secret that the Supreme Court is skeptical of Bivens actions. Indeed,

after Egbert v. Boule, 142 S. Ct. 1793 (2022), one may be tempted to conclude that

Bivens actions are limited only to the precise contexts presented in the three cases

where a cause of action has been approved: Bivens v. Six Unknown Named Agents,

403 U.S. 388 (1971); Davis v. Passman, 442 U.S. 228 (1979); and Carlson v. Green,

446 U.S. 14 (1980). Cases outside of these contexts seek an “extension” of Bivens,

and extensions, the argument goes, are a relic of the “the heady days in which [the

federal courts] assumed common-law powers to create causes of action.” Corr.

Servs. Corp. v. Malesko, 534 U.S. 61, 75 (2001) (Scalia, J., concurring).

      This view of the Court’s Bivens jurisprudence is incorrect. As explained

below, the Court’s recent decision in Egbert makes abundantly clear that the

standard two-step framework that has long applied in Bivens cases continues to

apply, and that implicit in that framework is that extensions of Bivens are, in rare

cases, entirely permissible and appropriate.

      Egbert involved excessive force and retaliation claims brought by Robert

Boule against Erik Egbert, a federal border security agent. At issue before the Court




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was whether Boule had a cause of action. In analyzing the question, the Court began

by laying out its traditional Bivens analysis:

      First, we ask whether the case presents a new Bivens context—i.e., is it
      meaningfully different from the three cases in which the Court has im-
      plied a damages action. Second, if a claim arises in a new context, a
      Bivens remedy is unavailable if there are special factors indicating that
      the Judiciary is at least arguably less equipped than Congress to weigh
      the costs and benefits of allowing a damages action to proceed.

      Egbert, 142 S. Ct. at 1803 (internal quotation marks and citations omitted).

      The Court then explained that “[w]hile our cases describe two steps, those

steps often resolve to a single question: whether there is any reason to think that

Congress might be better equipped to create a damages remedy.” Id. (emphasis

added). The Court’s characterization of its traditional two-step inquiry as often (but

not always) reducing to a “single question,” was based on the overlap often found

between factors indicating a claim arises in a new context and factors counseling

hesitation. Id. The Court did not abandon its two-step approach, and nowhere

indicated that it was overruling Hernandez v. Mesa, 140 S. Ct. 735 (2019), Ziglar,

or other previous Bivens decisions that utilized the two-step approach.

      Instead, the Court applied the two-step approach in rejecting Boule’s request

for an extension of Bivens. The Court first accepted the Ninth Circuit’s conclusion

that Boule’s claim arose in a “new context.” Egbert, 142 S. Ct. at 1804. It then

declined to recognize a cause of action because “Congress is better positioned to

create remedies in the border-security context, and the Government already has

                                           8
provided alternative remedies that protect plaintiffs like Boule.” Id. at 1807. If

extensions of Bivens were categorically barred, then there would be no reason to

even consider whether special factors exist that counsel hesitation.

      The unmistakable implication of the Court’s analysis is that extensions of

Bivens will be available in at least some cases. If there were any doubt about this,

however, Justice Gorsuch’s concurring opinion in Egbert reinforced the point.

Justice Gorsuch refused to join the majority opinion and concurred only the ultimate

judgment that no Bivens action was available. Id. at 1809 (Gorsuch, J., concurring).

The problem with the majority opinion, Justice Gorsuch opined, was its “case-

specific” approach—i.e., an approach that focuses on the costs and benefits of each

individual extension. Id. at 1810. In his view, a better approach was to prohibit all

extensions, regardless of the context. Id. If the Court’s practice was to deny an

extension each time it was sought, better to simply adopt that as a strict rule rather

than create “false hope, and in the process invite still more protracted litigation

destined to yield nothing.” Id. (internal quotation marks and citation omitted).

      Of course, Justice Gorsuch wrote only for himself. His view did not command

a single other vote. The inescapable conclusion is that eight of the nine justices

desired to retain the traditional Bivens framework and do not view a request for a

Bivens extension as a “false hope” that is “destined to yield nothing.” Rather, Bivens

extensions will be available in at least some circumstances. This is not to say that



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extensions may be easily granted; the majority opinion is clear that an extension is a

“a disfavored judicial activity” in which the “watchword is caution.” Id. at 1803. It

is simply to say that extensions are not categorically barred and will be permissible

in at least some circumstances.3 This is one of those circumstances.

      The fact that extensions of Bivens are available in at least some—albeit

narrow—circumstances is crucial to the proper application of the special factors test.

If the application of this test would foreclose an extension in every case, then the test

is at odds with controlling precedent. Consider the following illustration: suppose

that a plaintiff sought from this Court an extension of Bivens and the Court held that

a “special factor counseling hesitation” was the fact that the imposition of damages

would adversely impact the financial resources of the federal government.

Application of this special factor would be inappropriate because, given that all

Bivens actions will adversely impact the federal government’s financial resources, it

would have the effect of barring every extension of Bivens. That would not be

faithful to precedent.


      3
         Fourth Circuit precedent further reinforces the conclusion that extensions are
not categorically prohibited. In its post-Egbert Eighth Amendment cases, this Court
has never suggested that extensions were categorically barred and that the two-step
test for recognizing a Bivens action was instead only a single step. Indeed, this Court
recently mandated such an approach, stating “a court must engage in a ‘two-step
inquiry’ when analyzing would-be Bivens claims.” Mays v. Smith, 70 F.4th 198, 202
(4th Cir. 2023) (emphasis added); see also Bulger v. Hurwitz, 62 F.4th 127, 137 (4th
Cir. 2023).


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                                     *    *   *

       In sum, Supreme Court and Fourth Circuit precedent is clear that extensions

of Carlson are not categorically prohibited and will be available in at least some

circumstances. Further, this insight informs the proper application of special factors

when an extension is sought. A special factor may not be applied in a way that would

have the effect of barring every extension of either Bivens, Davis, or Carlson. Any

analysis that would produce that result is at odds with controlling precedent.

III.   Special Factors Do Not Counsel Hesitation in this Case.

       A modest extension of Bivens is justified here because there are no special

factors that, when properly applied, stand in the way of an extension. As explained

in detail below, an extension is not blocked by (1) the possibility of systemwide

consequences, (2) the potential impairment of officers’ discharge of their duties, or

(3) the availability of alternative remedies. Each of these factors is discussed below

and none are sufficient to counsel against an extension in this instance.

       Before discussing each of these factors, however, a word is in order on the

proper definition of a “special factor.” As the Supreme Court itself has admitted, it

has never “defined the phrase ‘special factors counseling hesitation,’” Ziglar v.

Abbasi, 582 U.S. 120, 136 (2017), and lower courts have not adopted a uniform set

of factors. Indeed, there are some discrepancies within the Fourth Circuit’s own case




                                         11
law regarding the identification of a special factor.4 More relevant to the present

context, some might deem the Court’s recent identification of a “single question”

underlying the Bivens inquiry (i.e., “whether there is any reason to think that

Congress might be better equipped to create a damages remedy”) to be its own

special factor. Egbert v. Boule, 142 S. Ct. 1793, 1798 (2022). This “single question,”

however, is better understood as a statement of general principle—a principle that

animates each of the special factors that have been applied in prior Bivens cases.



      4
        In Bulger v. Hurwitz, 62 F.4th 127 (4th Cir. 2023), this Court quoted to Tate
v. Harmon, 54 F.4th 839 (4th Cir. 2022) for the following non-exhaustive list of
special factors:

      (1) uncertainty alone as to whether allowing a Bivens claim would have
      systemwide consequences; (2) a new category of defendants; (3) a
      difference as small as the rank of the officers involved; (4) the statutory
      or other legal mandate under which the officer was operating; (5) a
      potential effect on foreign relations and national security: (6) Congress[
      ] repeatedly declin[ing] to authorize the award of damages in the
      relevant context; and (7) the risk that the burden and demand of
      litigation would prevent Executive Officials from devoting the time
      and effort required for the proper discharge of their duties.

       Bulger, 62 F.4th at 140 (quoting Tate, 54 F.4th at 846) (internal quotations
and citations omitted).
       Yet, in Tate itself, the Court did not refer to those seven factors as special
factors; rather, the court described them as “distinguishing factors . . . that would
support finding a new context.” Tate, 54 F.4th at 846. To be sure, as the Supreme
Court noted in Egbert, there is sometimes overlap between the factors used to
determine a “new context” and the factors that count as “special factors.” Egbert, at
1803-04; see also Bulger, 62 F.4th at 140 (noting “overlap”). This overlap is not
universal, however, and some “new context” factors have never been treated as
“special factors.”

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      A.      The Uncertainty of Systemwide Consequences

      In Egbert, the Court stated that the difficulty of “predict[ing] the systemwide

consequences of recognizing a cause of action under Bivens . . . is a special factor

that forecloses relief.”5 Id. at 1803–04 (internal citation omitted). The Court cited

Ziglar for this proposition, but in neither Egbert nor Ziglar did the Court explicitly

apply this factor. The exact contours of this factor are thus unclear. What is clear,

however, is that the potential for systemwide consequences must rise far above the

level of rank speculation. If that level of uncertainty were enough to bar a Bivens

extension, then every Bivens extension would be barred and the two-step inquiry that

has been repeatedly reaffirmed would be truncated to a single step.

      The Fourth Circuit correctly articulated this understanding of “systemwide

consequences” in Bulger v. Hurwitz, 62 F.4th 127 (4th Cir. 2023). In Bulger, the

Court considered a claim that the BOP’s decision to house an inmate in the general

population unconstitutionally exposed him to a risk of harm. Id. at 134-35. The Court

rejected a Bivens extension in that case because housing decisions of the sort

challenged “are typically the subject of broad policies and systemwide procedures

that involve a multitude of decisionmakers on almost every level of the BOP’s




      5
         The district court appeared to apply this special factor when discussing the
“entangl[ing] the federal judiciary in byzantine issues of prison administration and
institutional security.” JA 106.

                                         13
organizational hierarchy.” Id. at 141-42. Given this, the Court held that it was “ill-

suited to ‘predict the systemwide consequences of recognizing a cause of action

under Bivens.’” Id. at 142 (quoting Egbert, 142 S. Ct. at 1803-04).

      This Court’s application of “systemwide consequences” as a special factor in

Bulger is consistent with the principle that a special factor cannot be applied in a

way that would categorically foreclose an extension. Not every constitutional

violation will challenge a facility’s “broad policies and systemwide procedures.” In

addition, the Court’s approach in Bulger comports with a commonsense

understanding of the phrase. Decisions about where prisoners are located and who

they are surrounded by are ones that most people would consider to be systemic or

managerial. On the other hand, the use of excessive force by a rogue, front-line

officer in a particular instance will rarely implicate systemic or managerial concerns.

      The more recent case of Mays v. Smith, 70 F.4th 198 (4th Cir. 2023) also

addressed the “systemwide consequences” special factor. In Mays, an inmate alleged

that prison officials terminated his prison employment and transferred him to another

institution because of his race and without providing him any due process. Id. at 201.

Mays, like Bulger, thus implicated “broad policies and systemwide procedures”

related to housing and prison employment. Even if the injuries to the inmate could

be described as “individual instances of discrimination and law enforcement

overreach,” this Court nonetheless ruled that recognizing an extension “could open



                                          14
the door for increased litigation over the myriad decisions made every day regarding

inmate discipline, transfer, and employment across the entire BOP system.” Id. at

206.

       As in Bulger, this Court in Mays did not hold that every Bivens extension

would be barred by the potential for systemwide consequences, only that a certain

subset of extensions would be barred. Mays thus illustrates, as Bulger does, the

distinction between the individual nature of an excessive force claim (which does

not implicate systemwide concerns) and the systemwide nature of housing or

employment claims (which, because they are made by multiple, high-ranking people

and entities exercising discretionary authority, do implicate systemwide concerns).

Mr. Fields’ excessive force claim hinges on the actions of individual officers at a

discrete time and place and does not implicate any policies or high-ranking

decisionmakers.

       Supreme Court precedent confirms this view. In Ziglar v. Abassi, the plaintiffs

alleged that they were subject to an unconstitutional policy targeting persons of Arab

descent in the wake of the September 11 attacks. 582 U.S. 120, 128-29 (2017). A

challenge to this policy, the Supreme Court observed, would necessarily “require

inquiry and discovery into the whole course of the discussions and deliberations that




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led to the policies and governmental acts being challenged.” Id. at 141.6 The Court

continued: “Even if the action is confined to the conduct of a particular Executive

Official in a discrete instance, these claims would call into question the formulation

and implementation of a general policy.” Id. Bivens actions, the Court explained, are

for challenging “standard law enforcement operations,” id. at 142 (quotations

omitted), and are not to be used as a “vehicle for altering an entity’s policy.” Id. at

140 (quoting Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001)).

      The lesson of Ziglar, Bulger, and Mays is that the potential for systemwide

consequences only counts as a special factor if a judicial decision would disrupt

“broad policies and systemwide procedures.” If a suit instead only challenges

“standard law enforcement operations,” the “systemwide consequences” special

factor does not apply. In this case, Fields challenges only the discrete actions of

front-line officers engaged in “standard law enforcement actions.” Indeed, because

BOP policy prohibits officers from using excessive force, Fields is not challenging

a general policy but instead urging compliance with a general policy. This special

factor, therefore, does not block his claim here.




      6
        It is unclear whether Ziglar applied the “systemwide consequences” special
factor (which is being discussed here) or instead applied the “discharge of duties”
special factor (which is discussed in the following section). To the extent that these
statements are consistent with the concerns raised in Bulger and Mays, they are noted
here to confirm the correct understanding of this special factor.

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      B.      Impact on Officers’ Discharge of Their Duties

      Another special factor that may block an extension of Bivens is the impact of

the extension on officers’ discharge of their duties. The Court appeared to apply this

factor in Ziglar v. Abbasi and then again in Egbert v. Boule. Ziglar, as noted above,

involved the alleged mistreatment of Arab detainees in the wake of the September

11 attacks. Important to the Court in Ziglar was not just that the detainees were

challenging a particular detention policy, but also that the detainees had named as

defendants three high-ranking executive officials: “Attorney General John Ashcroft,

former FBI Director Robert Mueller, and former Immigration and Naturalization

Service Commissioner James Ziglar.” Ziglar, 582 U.S. at 129. Regarding these three

defendants only, the Court held that a Bivens extension would inappropriately

interfere with the discharge of their duties, stating:

      Even if the action is confined to the conduct of a particular Executive
      Officer in a discrete instance, these claims would call into question the
      formulation and implementation of a general policy. This, in turn,
      would necessarily require inquiry and discovery into the whole course
      of the discussions and deliberations that led to the policies and
      governmental acts being challenged. These consequences counsel
      against allowing a Bivens action against the Executive Officials, for the
      burden and demand of litigation might well prevent them—or, to be
      more precise, future officials like them—from devoting the time and
      effort required for the proper discharge of their duties.

      Id. at 141.

      Thus, the Court’s reluctance to interfere with “proper discharge of [the

officer’s] duties” derived from the fact that an extension in this instance would

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require high-ranking executive officers to defend the “formulation and

implementation of a general policy.” Tellingly, with regard to the low-ranking

officers also sued in Ziglar (a warden and two assistant wardens), the Court did not

rely on this factor in denying a Bivens action. Id. at 142-45. Ziglar thus makes clear

that not every lawsuit will impermissibly interfere with a federal officer’s discharge

of their duties, even though a minimal level of interference is unavoidable in every

suit. Suits against high-ranking officers such as an attorney general will

impermissibly interfere with the discharge of duties, but suits against lower ranking

officers such as a warden or assistant warden will not.

      The Supreme Court appeared to apply this special factor in a different

circumstance several years later in Egbert v. Boule. There, the Court rejected a First

Amendment retaliation claim because extending Bivens to that context would

unleash a cascade of potentially frivolous suits that would nonetheless progress

through to a trial and put a strain on the defendant officers. As the Court put it,

      A plaintiff can turn practically any adverse action into grounds for a
      retaliation claim. And, because an official’s state of mind is easy to
      allege and hard to disprove, insubstantial claims that turn on
      [retaliatory] intent may be less amenable to summary disposition. Even
      a frivolous retaliation claim threatens to set off broad-ranging discovery
      in which there is often no clear end to the relevant evidence.

      Egbert v. Boule, 142 S. Ct. 1793, 1807 (2022) (internal citations and quota-

tions omitted).




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      Importantly, the Court did not apply this factor to the Fourth Amendment

excessive force claim alleged in Egbert. That claim was barred, but only because it

implicated national security concerns and because alternative remedies existed. Id.

at 1804-07. The Court’s differential treatment of the excessive force and retaliation

claims in Egbert makes clear that this special factor only applies when the claim

would apply to an extraordinarily broad range of conduct (“a plaintiff can turn

practically any adverse action into grounds for a retaliation claim”) that will almost

certainly be litigated past the pleading stage and through discovery or a trial (“[e]ven

a frivolous retaliation claim threatens to set off broad-ranging discovery”). That is a

far cry from the situation here.

      The Fourth Circuit has not explicitly applied the “discharge of duties” special

factor, but in Tate v. Harmon, 54 F.4th 839 (4th Cir. 2022), this Court did invoke

concerns like those raised in Ziglar. Tate involved “a broad-based, systemic claim

against an array of federal officials” including a “Regional Director of the Bureau of

Prisons.” Id. at 846. This Court did not imply a Bivens remedy because, “by its very

nature, Tate’s claim would expand prison officials’ liability from previous Bivens

actions to systemic levels.” Id.

      In sum, a Bivens extension may be barred when it would interfere with high-

ranking officials’ decisions on how to implement systemwide policies. Fields does

not allege that a high-ranking officer erred in implementing systemwide policies.



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Instead, he merely alleges that low-level BOP employees violated BOP policy by

using excessive force against himself. As such, Fields’ claim is not barred by this

special factor.

      C.      The Existence or Clear Rejection of Alternative Remedies

      The existence or clear rejection of alternative remedies is a third “special

factor” that potentially applies in this case. Although this Court and the Supreme

Court have refused to extend Bivens because of the existence of alternative remedies

in the past, there is no reason to do so here. First, while remedies under the BOP’s

administrative remedy program have been held to block an extension, that has only

occurred when the remedial program is in fact operational. In this instance, rogue

officers rendered the program inoperable as it pertains to Fields, and thus his action

should not be blocked. Second, the putative availability of remedies under the

Federal Tort Claims Act (FTCA) is irrelevant here because the Supreme Court has

held that those remedies do not block an extension.

                    1. The BOP’s Administrative Remedy Program Does Not
                       Block an Extension

      The existence of alternative remedies has figured prominently in the Supreme

Court’s Bivens jurisprudence. Their prominence stems from the purpose of Bivens

actions: “deterring the unconstitutional acts of individual officers.” Egbert v. Boule,

142 S. Ct. 1793, 1806 (2022). Civil actions for damages, of course, are not the only

method of deterring unconstitutional conduct. A variety of criminal and

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administrative programs may achieve the desired deterrent effect. Where Congress

or the Executive has developed a remedial program that calibrates remedies to

achieve the desired level of deterrence, the Supreme Court typically refuses to create

a Bivens action. As the Court has explained, “[s]o long as Congress or the Executive

has created a remedial process that it finds sufficient to secure an adequate level of

deterrence, the courts cannot second-guess that calibration by superimposing a

Bivens remedy.” Id. at 1807.

      It follows from these principles that, where rogue officers have nullified a

remedial program with regard to a specific prisoner, the operation of the program

will no longer represent the will of Congress or the Executive. Nor will the program

deliver the carefully calibrated level of deterrence that would justify this Court

staying its Bivens hand. This is exactly the circumstance presented here. When Fields

attempted to utilize the BOP’s Administrative Remedy Program, he was denied

access to the program by two officers acting ultra vires. JA 026. Thus, regarding

Fields, recognizing a Bivens action here will not interfere with the BOP’s carefully

calibrated system of deterrence. That carefully calibrated system has already been

disrupted by a rogue officer. If anything, a Bivens action will further the desires of

the Executive by imposing at least some deterrence for misconduct.

      This approach to alternative remedies mirrors the current approach to the

exhaustion of remedies under the Prisoner Litigation Reform Act (PLRA). The



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PLRA requires that prisoners exhaust their administrative grievances before filing a

lawsuit. 42 U.S.C. § 1997e(a). However, the requirement is not unyielding. As the

Supreme Court has explained, a prisoner need not exhaust administrative remedies

that are “unavailable.” Ross v. Blake, 578 U.S. 632, 642 (2016). A remedy is deemed

unavailable “when (despite what regulations or guidance materials may promise) it

operates as a simple dead end—with officers unable or consistently unwilling to

provide any relief to aggrieved inmates.” Id. at 643. Crucially for present purposes,

a prisoner’s inability to exhaust need not be part of a widespread administrative

breakdown. Even a single, isolated act that bars access to the administrative program

is enough to excuse the prisoner’s failure to exhaustive administrative remedies. Id.

      To be clear, Fields is not arguing here that the BOP remedial program, when

operating as designed, is insufficient to provide him the remedy he seeks. Precedent

holds that the BOP’s choice as to the appropriate level of deterrence must be

respected and it is not this Court’s place to “second-guess” the chosen level of

deterrence. Egbert, 142 S. Ct. at 1807. Fields is instead arguing that, where an

alternative remedial system has broken down, that remedial system should not count

as a special factor blocking a Bivens action any more than his failure to exhaust his

remedies in the same context would block a Bivens action under the exhaustion

requirement.




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      This conclusion follows not simply from the logic underlying the exception

to the exhaustion requirement, but it also follows from Supreme Court precedent. In

Correctional Services Corp. v. Malesko, the Supreme Could held that a federal

prisoner may not pursue a Bivens action because the prisoner had “full access” to the

“BOP’s Administrative Remedy Program.” 534 U.S. 61, 74 (2001). The Court was

careful to note that the prisoner there had “full access” to the program. Where a

prisoner does not have “full access,” the administrative remedy does not hold the

same force. Fields did not have “full access” to his purported alternative remedy

because a rogue officer denied him such access. Thus, in keeping with Malesko, his

Bivens action is not barred here.

      Further, in cases where the Court has stayed its hand in deference to

alternative remedies, it has often noted that the alleged alternative remedies were in

fact available to the Bivens plaintiff. In Egbert, for example, the Court noted that

plaintiff there “took advantage of [an administrative] grievance procedure,

prompting a year-long internal investigation into Agent Egbert’s conduct.” Egbert,

142 S. Ct. at 1806. Similarly, in Chappell v. Wallace, a case arising in the military

context, the Court refused a Bivens remedy in deference to an administrative remedy

and was careful to note that at least one of the original plaintiffs “availed himself of

his remedy” through an administrative remedial program. 462 U.S. 296, 303 n.1

(1983).



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      To be sure, this Court observed in Bulger v. Hurwitz that “the potential

unavailability of a remedy in a particular circumstance does not warrant

supplementing that scheme.” 62 F.4th 127, 141 (4th Cir. 2023). Yet this Court there

was referring to a scheme that was in effect and operational. In that circumstance,

Congress’ preferences about level and manner of deterrence are realized. If Congress

desires that the remedy be small or nonexistent, then Congress’ wishes must be

carried out and courts must stay their Bivens hand. But when a remedial scheme is

not operational—i.e., when a rogue officer disrupts the scheme such that it is

“unavailable” and “operates as a simple dead end”—Congress’ wishes about the

level and manner of deterrence are not realized. A Bivens action in this narrow

context would not trample on Congress’ or the Executive’s objectives but would

instead step into a void created by a rogue officer and realize those objectives.

      Crucially, if this Court were to hold otherwise—i.e., if it were to hold that the

BOP’s grievance process, whether operational or not, displaced all constitutional

damages actions—then extensions of Carlson would be categorically barred. As

explained in detail above, however, the Supreme Court has refused to categorically

bar extensions to any of the three original Bivens actions. Thus, to comply with

binding precedent, there must be at least one circumstance in which the BOP’s

grievance process would not constitute an alternative remedy blocking a Bivens

extension. The circumstance presented here—where Fields was denied “full access”



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to alleged alternative remedy—is the best candidate for rendering the doctrine

coherent because it is consistent with the well-established exception to the

exhaustion requirement.7

                    2. FTCA Remedies Are Not Relevant Here

      In certain circumstances, a person detained in a federal facility may seek relief

for injuries under the FTCA. Whether Fields might have a remedy under the FTCA,

is irrelevant here though because Carlson v. Green, 446 U.S. 14 (1980) holds that

such remedies do not foreclose relief here.

      In Carlson, a federal prisoner sought damages under the Eighth Amendment.

In considering whether to permit the action, the Supreme Court recognized that the



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         Two of circuit court opinions cited by the district court that refused to extend
Carlson mistakenly adopted the BOP’s grievance procedure as a categorical (or
almost categorical) bar to extensions of Bivens claims by federal prisoners. JA 107
(citing Silva v. United States, 45 F.4th 1134, 1141–42 (10th Cir. 2022)) and Greene
v. United States, No. 21-5398, 2022 U.S. App. LEXIS 25630, at *8 (6th Cir. Sept.
13, 2022) (unpublished). The last case, Alsop v. Fed. Bureau of Prisons, merely cited
to a previous Third Circuit opinion refusing to extend Carlson. JA 107 (citing No.
22-1933, 2022 U.S. App. LEXIS 30806, at *6 (3d Cir. Nov. 7, 2022)).
       That previous Third Circuit decision, Mack v. Yost, had not treated the BOP’s
grievance system as a categorical bar. In that case, the existence of alternative
remedies and separation of powers concerns prevented the creation of a damages
remedy for a First Amendment retaliation claim where a prisoner had been fired
from his commissary job because he complained “that correctional officers were
harassing him at work because of his religion.” 968 F.3d 311, 314 (2020). The Third
Circuit correctly noted that “hiring and firing decisions” for work assignments are
“BOP’s administrative decisions” that should not be intruded upon by federal courts.
Id. at 322. Of course, Egbert ruled out the existence of a Bivens-type remedy for a
First Amendment retaliation claim. Egbert, 142 S. Ct. 1793, 1807 (2022).

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FTCA would, according to the allegations in the complaint at least, also provide

relief. Id. at 19. Yet, the Court did not find this remedy to be a bar to a Bivens claim.

Id. at 20. The Court held that the “FTCA is not a sufficient protector of the citizens’

constitutional rights, and without a clear congressional mandate we cannot hold that

Congress relegated respondent exclusively to the FTCA remedy.” Id. at 23.

      The Supreme Court has never overruled Carlson. Admittedly, since Carlson,

the Court has taken a different view of alternative remedies in its Bivens

jurisprudence. Now, the general rule is that “when alternative methods of relief are

available, a Bivens remedy usually is not.” Ziglar v. Abbasi, 582 U.S. 120, 145

(2017). Thus, for example, the Court has held that a Bivens action is unavailable for

the wrongful termination of federal employment or the denial of social security

benefits because, in both instances, Congress has created a statutory scheme to

address the alleged misconduct. See Schweiker v. Chilicky, 487 U.S. 412

(1988); Bush v. Lucas, 462 U.S. 367 (1983). Although these decisions approach

alternative remedies differently than in Carlson, the Court has never explicitly

overruled Carlson itself.

      Indeed, in the many cases where the Court has refused a Bivens action, it has

never cited the apparent availability of a FTCA claim as an alternative remedy

blocking an extension. In Egbert, for example, the plaintiff had “filed an

administrative claim with Border Patrol pursuant to the Federal Tort Claims Act.”



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Egbert v. Boule, 142 S. Ct. 1793, 1802 (2022). Instead of holding that the extension

was barred by the availability of a FTCA remedy, however, the Court held only that

the extension was barred by the BOP’s administrative remedy program.

        Although the Supreme Court has never explicitly overruled Carlson, one

might be tempted to infer that the case has been implicitly overruled. Yet the

Supreme Court has forbidden lower courts from making such inferences. As the

Court has explained, “[i]f a precedent of [the Supreme] Court has direct application

in a case yet appears to rest on reasons rejected in some other line of decisions, the

Court of Appeals should follow the case which directly controls, leaving to [the

Supreme] Court the prerogative of overruling its own decisions.” Rodriguez de

Quijas v. Shearson/Am. Exp., Inc., 490 U.S. 477, 483 (1989); see also Bosse v.

Oklahoma, 580 U.S. 1, 3 (2016) (“Our decisions remain binding precedent until we

see fit to reconsider them, regardless of whether subsequent cases have raised doubts

about    their   continuing   vitality.”)   (quotation   omitted); United   States   v.

Danielczyk, 683 F.3d 611, 615 (4th Cir. 2012) (“lower courts should not conclude

that the Supreme Court’s more recent cases have, by implication, overruled [its]

earlier precedent”) (internal quotation marks omitted).

        Carlson’s holding that the FTCA does not displace a Bivens action has “direct

application in [this] case.” Although Carlson may “appear[] to rest on reasons

rejected” in its more recent Bivens decisions,” this Court is obliged to “follow the



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case which directly controls”—Carlson—and “leave[]to [the Supreme] Court the

prerogative of overruling” the case. Whatever remedies Fields might have under the

FTCA, therefore, are irrelevant to the availability of a Bivens action.

                                      *     *   *

      Just like the plaintiff in Carlson, Mr. Field’s claim is “narrow and discrete,

implicating well-established criteria for liability and damages.” Tate v. Harmon, 54

F.4th 839, 846 (4th Cir. 2022). His claim challenges no systems or policies and is

subject to a high standard on the merits. And because his access to the BOP’s

administrative remedies was thwarted, recognizing a remedy here would not impede

on the will of Congress or the Executive.

                                  CONCLUSION

      For the reasons stated above, Appellant Andrew Fields, III respectfully asks

that the district court’s opinion be reversed, and Field’s claim be allowed to pro-

ceed to discovery.

              STATEMENT REGARDING ORAL ARGUMENT

      As this is a case of first impression for this Court, and there is little guidance

from other Courts of Appeals, Appellant requests oral argument and believes it

would be beneficial.




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